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UNITED STATES DISTRICT COURIE§§; Ff@i] _2 PH -:;. l 9
MIDDLE DISTRICT OF FLORIDA "`

ORLANDO DIVISION
HIS HIGHNESS BADR BIN
SAUD BIN SAAD AL SAUD,
Plainiff,
VS.

PARKER BROTHERS CONCEPTS, INC.,
and MAURICE PARKER,

Defendants.
/

COMPLAINT

Plaintiff, His Highness Badr Bin Saud Bin Saad Al Saud, by and through his
undersigned attorneys, hereby sues Defendants, Parker Brothers Concepts, Inc., and
Maurice Parker, and alleges as follows:

Jurisdiction, Parties and Venue

1. This is an action for damages in an amount in excess of $75,000, exclusive
of costs, interest, and attorneys’ fees.

2. Plaintiff, His Highness Badr Bin Saud Bin Saad Al Saud, is citizen of a
foreign state.

3. Defendant, Parker Brothers Concepts, Inc. (“Parker Brothers”), is a
Florida corporation that is a citizen of the State of Florida.

4. Defendant, Maurice Parker, is an individual who is a citizen of the State of

Florida.

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5. This Court has jurisdiction over this matter as this is a dispute between a
citizen of a foreign state, as plaintiff, and citizens of a State, and the amount in
controversy exceeds $75,000, exclusive of costs, interest and attorney’s fees. Moreover,
the parties consented to the jurisdiction of this Court for any action to enforce the
agreement that is the subject hereof.

6. Venue is proper in the Middle District of Florida as the judicial district in
which: (a) Parker resides and Parker Brothers maintains its principal place of business;
(2) a substantial part of the events or omissions giving rise to the claim occurred; and (3)
Parker and Parker Brothers are subject to personal jurisdiction.

Allegations Common to AII Counts
7. On or about January 17, 2016, Plaintiff and Parker Brothers entered into a

Settlement Agreement, a copy of which is attached hereto as Exhibit A.

8. Parker executed the Settlement Agreement individually and on behalf of
Parker Brothers.
9. Pursuant to the terms of the Settlement Agreement, Parker Brothers was

required to make payments to Plaintiff totaling $765,000.00.

lO. Parker Brothers failed to make any payments to Plaintiff as required by the
Settlement Agreement.

ll. Pursuant to the terms of the Settlement Agreement, upon Parker Brothers’
failure to make any payment due under the Settlement Agreement, Plaintiff would be

entitled to immediate entry of a Final Judgment against Parker Brothers and Parker,

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jointly and severally, in the amount of $765,000, less any payments timely received under
the Settlement Agreement, plus all accrued interest, and attorney’s fees and costs.

12. Accordingly, Plaintiff is entitled to entry of a Final Judgment against
Parker Brothers and Parker, jointly and severally, in the amount of $765,000, plus
interest, costs, and attorneys’ fees.

13. Plaintiff has retained the undersigned attorneys and has agreed to pay a
reasonable fee for their services herein.

14. All conditions precedent to this action have been satisfied, have occurred,
or have been waived.

COUNT l
BREACH OF CONTRACT

15. Plaintiff realleges paragraphs l through 14 above as if set forth more fully
herein.

16. The Settlement Agreement is a contract between Plaintiff and Parker
Brothers and Parker.

17. Parker Brothers and Parker materially breachedthe Settlement Agreement
by failing to make payments due thereunder when due.

18. Plaintiff has suffered damages as a result of Parkers Brothers’ and
Parker’s breach of the Settlement Agreement.

l9. Accordingly, Plaintiff is entitled to an award of damages in the amount of
$765,000.00, plus accrued interest, and attorney’s fees and costs,

WHEREFORE, Plaintiff, His Highness Badr Bin Saud Bin Saad Al Saud,
demands entry of Final Judgment against Defendants, Parker Brothers Concepts, Inc.,

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and Maurice Parker, jointly and severally, for damages in the amount of $765,000.00,

plus costs and attorneys’ fees, with interest thereon, and such other and further relief as is

just and proper.

DATED this 1st day ofNovember, 2018.

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